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               EXHIBIT 55
               EXHIBIT
Why did Obama
5>K 9?9 176B6 dawdle
              96J9A; on
                     DC Russia's
                        3IGG?6LG hacking?
                                 >68@?C=0 -& 4>;
                                             The Washington
                                                 56G>?C=HDC Post
                                                            2DGH                            Page
                                                                                            26=; 1* of
                                                                                                    D< 4
                                                                                                       -
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                                           ',* Washington
                                           The ()0,-.+1/. Post
                                                          &/01

+5131437
Opinions

*2? did
Why .3. Obama
        (,+6+ dawdle
              .+>.5/ on
                     87 Russia's
                        )=;;3+@; hacking?
                                 2+-4371%

*G David
By +2E;5 Ignatius
         -8?2C;DB
.2?D2AG 12,
January %&! &$%'
            2017

1;<D 5A>F?@ has
This column ;3D 477@ FB63E76 47>AH'
                been updated below.

gHZXQ_TUYS U^
"Something  is ]Z__QY UY the
               rotten in  _TQ state
                              ^_M_Q of
                                    ZR 9QYXM]V(h
                                       Denmark," X`__Q]^
                                                  mutters CM]OQWW`^  M^ ghosts
                                                           Marcellus as STZ^_^ and
                                                                               MYP mad
                                                                                   XMP spirits
                                                                                       ^[U]U_^
TM`Y_ ;W^UYZ]Q
haunt           OM^_WQ in
      Elsinore castle  UY the
                          _TQ first
                              RU]^_ act
                                    MO_ of
                                        ZR Shakespeare's
                                           HTMVQ^[QM]Qf^ "Hamlet."
                                                         g>MXWQ_*h

6R_Q] this
After _TU^ past
           [M^_ week
                bQQV of
                     ZR salacious
                        ^MWMOUZ`^ leaks
                                   WQMV^ about
                                         MNZ`_ foreign
                                                RZ]QUSY espionage
                                                         Q^[UZYMSQ plots
                                                                     [WZ_^ and
                                                                           MYP UYPUSYMY_ PQYUMW^(
                                                                               indignant denials,
[QZ[WQ must
people  X`^_ be
             NQ wondering
                 bZYPQ]UYS ifUR something
                                ^ZXQ_TUYS U^
                                           is ]Z__QY UY the
                                              rotten in _TQ state
                                                            ^_M_Q of
                                                                  ZR our
                                                                     Z`] democracy.
                                                                          PQXZO]MOd* >Zb  OMY we
                                                                                     How can  bQ
PU^[QW the
dispel _TQ dark
           PM]V ]`XZ]^   _TM_( as
                 rumors that,  M^ >MXWQ_  ^Md^( "shake
                                  Hamlet says,  g^TMVQ our
                                                         Z`] disposition"?
                                                             PU^[Z^U_UZYh5

?fP ^`SSQ^_ four
I'd suggest RZ`] questions
                 \`Q^_UZY^ to
                           _Z clear
                              OWQM] the
                                    _TQ haze
                                        TMeQ of
                                             ZR allegation
                                                MWWQSM_UZY and
                                                           MYP ]QO]UXUYM_UZY   _TM_ surrounds
                                                                recrimination that  ^`]]Z`YP^
E]Q^UPQY_)QWQO_
President-elect 9ZYMWP  I]`X[ and
                 Donald Trump    MYP our
                                     Z`] intelligence
                                         UY_QWWUSQYOQ agencies
                                                       MSQYOUQ^ aM week
                                                                   bQQV before
                                                                        NQRZ]Q his
                                                                               TU^ inauguration.
                                                                                   UYM`S`]M_UZY*
=Q__UYS answers
Getting MY^bQ]^ XMd   _MVQ XZY_T^
                  may take months i    N`_ that's
                                     — but _TM_f^ the
                                                  _TQ best
                                                      NQ^_ way
                                                           bMd to
                                                               _Z avoid
                                                                   MaZUP a
                                                                         M Shakespearean
                                                                           HTMVQ^[QM]QMY tragic
                                                                                          _]MSUO
QYPUYS*
ending.

 F`Q^_UZY 1:
Question   +4 9UP I]`X[f^ campaign
              Did Trump's  OMX[MUSY encourage
                                     QYOZ`]MSQ G`^^UMf^   MWWQSQP hacking
                                                Russia's alleged  TMOVUYS to_Z T`]_  TU^ ]UaMW
                                                                               hurt his  rival
 >UWWM]d 8WUY_ZY and
 Hillary Clinton  MYP help
                      TQW[ him,
                           TUX( and
                                MYP does
                                    PZQ^ G`^^UM TMaQ any
                                         Russia have  MYd leverage
                                                           WQaQ]MSQ over
                                                                    ZaQ] him?
                                                                           TUX5 Trump
                                                                                 I]`X[ finally
                                                                                          RUYMWWd
 OZYOQPQP at
 conceded  M_ his
              TU^ YQb^ OZYRQ]QYOQ Wednesday
                  news conference  LQPYQ^PMd that
                                              _TM_ "as
                                                    gM^ far
                                                        RM] as
                                                            M^ hacking,
                                                               TMOVUYS( I? think
                                                                           _TUYV it
                                                                                 U_ was
                                                                                    bM^ G`^^UM(h
                                                                                         Russia,"
 N`_ he
but  TQ insisted
        UY^U^_QP he
                 TQ has
                    TM^ "no
                        gYZ dealings
                            PQMWUYS^ with
                                     bU_T G`^^UMh MYP "no
                                          Russia" and  gYZ loans
                                                            WZMY^ with
                                                                  bU_T G`^^UM*h
                                                                       Russia." >Q    PUPYf_ answer
                                                                                  He didn't   MY^bQ]
aM question
   \`Q^_UZY about
            MNZ`_ whether
                   bTQ_TQ] TQ  Z] anyone
                            he or MYdZYQ from
                                         R]ZX his
                                              TU^ staff
                                                  ^_MRR had
                                                        TMP contact
                                                             OZY_MO_ with
                                                                     bU_T G`^^UM
                                                                            Russia P`]UYS   _TQ
                                                                                    during the
 OMX[MUSY*
 campaign.

ITQ country
The  OZ`Y_]d YQQP^  _Z know
              needs to VYZb what's
                             bTM_f^ true
                                     _]`Q and
                                           MYP what's
                                                bTM_f^ false.
                                                       RMW^Q* The
                                                              ITQ EZ^_   MYP other
                                                                    Post and Z_TQ] YQb^
                                                                                   news
Z]SMYUeM_UZY^ spent
organizations   ^[QY_ months
                      XZY_T^ trying
                              _]dUYS to
                                      _Z check
                                         OTQOV out
                                                Z`_ a
                                                    M dossier
                                                      PZ^^UQ] about
                                                               MNZ`_ [Z^^UNWQ
                                                                      possible G`^^UM)I]`X[
                                                                               Russia-Trump
OZY_MO_^ prepared
contacts []Q[M]QP byNd a
                       M former
                         RZ]XQ] 7]U_U^T  UY_QWWUSQYOQ officer.
                                 British intelligence  ZRRUOQ]* The
                                                                ITQ []Q^^  OZ`WPYf_ OZYRU]X
                                                                     press couldn't         MWWQSQP
                                                                                    confirm alleged
XQQ_UYS^   P`]UYS the
meetings during   _TQ campaign.
                      OMX[MUSY* The
                                  ITQ <7?   MYP other
                                       FBI and   Z_TQ] UY_QWWUSQYOQ  MSQYOUQ^ have
                                                       intelligence agencies   TMaQ had
                                                                                    TMP the
                                                                                        _TQ dossier,
                                                                                            PZ^^UQ](
_ZZ( since
too, ^UYOQ late
           WM_Q summer.
                ^`XXQ]* Their
                          ITQU] investigation
                                UYaQ^_USM_UZY ]QXMUY^    Z[QY( it
                                               remains open,    U_ appears.
                                                                   M[[QM]^*

6 full
A R`WW investigation
       UYaQ^_USM_UZY could
                     OZ`WP establish
                           Q^_MNWU^T who
                                      bTZ did
                                           PUP what,
                                               bTM_( and
                                                     MYP when.
                                                         bTQY* ?YIn aM OM^Q bTQ]Q a
                                                                       case where  M foreign
                                                                                     RZ]QUSY
UY_QWWUSQYOQ service
intelligence ^Q]aUOQ allegedly
                     MWWQSQPWd ]MY
                               ran aM covert
                                      OZaQ]_ action
                                             MO_UZY against
                                                    MSMUY^_ the
                                                            _TQ United
                                                                JYU_QP H_M_Q^f
                                                                         States' [ZWU_UOMW ^d^_QX(
                                                                                 political system,
MNZ]_UYS the
aborting  _TQ inquiry
              UY\`U]d would
                      bZ`WP be
                             NQ scandalous.
                                ^OMYPMWZ`^*




https://www.washingtonpost.com/opinions/why-did-obama-dawdle-on-russias-hacking/201... 6/6/2020
>HHEG/((JJJ'J6G>?C=HDCEDGH'8DB(DE?C?DCG(J>K&9?9&D76B6&96J9A;&DC&FIGG?6G&>68@?C=(+)*''' .(.(+)+)
Why did Obama
5>K 9?9 176B6 dawdle
              96J9A; on
                     DC Russia's
                        3IGG?6LG hacking?
                                 >68@?C=0 -& 4>;
                                             The Washington
                                                 56G>?C=HDC Post
                                                            2DGH                              Page
                                                                                              26=; 2+ of
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                                                                                                         -
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Question  2: Why
F`Q^_UZY ,4  LTd did
                   PUP the
                       _TQ Obama
                           DNMXM administration
                                    MPXUYU^_]M_UZY wait
                                                     bMU_ so
                                                          ^Z long
                                                             WZYS to
                                                                   _Z deal
                                                                      PQMW with Russia's apparent
                                                                           bU_T G`^^UMf^ M[[M]QY_
hacking?
TMOVUYS5 This
         ITU^ is
               U^ the Hamlet puzzle
                  _TQ >MXWQ_   [`eeWQ in
                                       UY our
                                          Z`] drama.  Like the
                                              P]MXM* BUVQ       prince of
                                                           _TQ []UYOQ      Denmark, E]Q^UPQY_
                                                                        ZR 9QYXM]V(  President
Obama
DNMXM delayed
        PQWMdQP taking
                 _MVUYS action
                         MO_UZY even
                                QaQY asM^ evidence
                                          QaUPQYOQ mounted
                                                   XZ`Y_QP of ZR dastardly
                                                                 PM^_M]PWd deeds.
                                                                            PQQP^* The
                                                                                   ITQ first
                                                                                       RU]^_ stories
                                                                                             ^_Z]UQ^
about Russian hacking
MNZ`_ G`^^UMY   TMOVUYS broke
                         N]ZVQ in
                                UY the
                                   _TQ summer.
                                        ^`XXQ]* In?Y September,
                                                     HQ[_QXNQ]( the
                                                                  _TQ "Gang
                                                                      g=MYS of  Eight" i
                                                                             ZR ;UST_h — the
                                                                                          _TQ top
                                                                                               _Z[
congressional
OZYS]Q^^UZYMW leadership
               WQMPQ]^TU[ on
                           ZY intelligence
                               UY_QWWUSQYOQ i— was
                                               bM^ getting
                                                    SQ__UYS detailed
                                                            PQ_MUWQP briefings
                                                                      N]UQRUYS^ on
                                                                                ZY the
                                                                                   _TQ hacking.
                                                                                       TMOVUYS* The
                                                                                                 ITQ
FBI by
<7? Nd then
       _TQY had   ZN_MUYQP the
             TMP obtained        British ex-spy's
                            _TQ 7]U_U^T           dossier.
                                         Qc)^[df^ PZ^^UQ]*

The
ITQ intelligence
     UY_QWWUSQYOQ community
                  OZXX`YU_d issued
                              U^^`QP a
                                     M statement
                                       ^_M_QXQY_ Oct.
                                                  DO_* 17 charging
                                                          OTM]SUYS that
                                                                   _TM_ "Russia's
                                                                        gG`^^UMf^ senior-most
                                                                                  ^QYUZ])XZ^_
officials"
ZRRUOUMW^h had
           TMP sought
               ^Z`ST_ to
                      _Z "interfere
                         gUY_Q]RQ]Q with
                                    bU_T the
                                         _TQ U.S.
                                             J*H* election
                                                  QWQO_UZY process."
                                                           []ZOQ^^*h Given
                                                                     =UaQY that,
                                                                           _TM_( why
                                                                                 bTd didn't
                                                                                      PUPYf_
Obama
DNMXM do     more?
         PZ XZ]Q5

The
ITQ White   House []ZNMNWd
     LTU_Q >Z`^Q   probably feared
                             RQM]QP that
                                     _TM_ further
                                          R`]_TQ] action might trigger
                                                  MO_UZY XUST_  _]USSQ] a
                                                                        M process
                                                                          []ZOQ^^ of escalation
                                                                                  ZR Q^OMWM_UZY
that could bring
_TM_ OZ`WP        even worse
            N]UYS QaQY bZ]^Q election
                              QWQO_UZY turmoil.
                                        _`]XZUW* Trump
                                                 I]`X[ was    NM]Y^_Z]XUYS the
                                                         bM^ barnstorming    _TQ country claiming
                                                                                 OZ`Y_]d OWMUXUYS
that
_TM_ the
     _TQ election
         QWQO_UZY was rigged and
                  bM^ ]USSQP  MYP warning
                                  bM]YUYS he    might YZ_
                                             TQ XUST_ not accept
                                                           MOOQ[_ the
                                                                  _TQ outcome.   Did the
                                                                      Z`_OZXQ* 9UP   _TQ
administration
MPXUYU^_]M_UZY worry
                 bZ]]d that
                       _TM_ the Russians would
                            _TQ G`^^UMY^   bZ`WP take
                                                  _MVQ additional
                                                       MPPU_UZYMW steps
                                                                   ^_Q[^ to
                                                                         _Z hurt
                                                                            T`]_ Clinton
                                                                                 8WUY_ZY and
                                                                                         MYP help
                                                                                              TQW[
Trump,
I]`X[( and
         MYP might
              XUST_ disrupt
                    PU^]`[_ balloting
                            NMWWZ_UYS itself?
                                       U_^QWR5 We need to
                                               LQ YQQP  _Z know.
                                                           VYZb*

Question
F`Q^_UZY 3:-4 What
               LTM_ discussions
                      PU^O`^^UZY^ has
                                  TM^ the
                                       _TQ Trump
                                           I]`X[ team
                                                    _QMX had
                                                         TMP with  Russian officials
                                                              bU_T G`^^UMY ZRRUOUMW^ about
                                                                                     MNZ`_ future
                                                                                           R`_`]Q
relations? Trump
]QWM_UZY^5  I]`X[ said^MUP Wednesday
                           LQPYQ^PMd that
                                        _TM_ his relationship with
                                             TU^ ]QWM_UZY^TU[      President Vladimir
                                                              bU_T E]Q^UPQY_            Putin is
                                                                             KWMPUXU] E`_UY   U^ "an
                                                                                                 gMY
asset, not aM liability."
M^^Q_( YZ_                Fair enough,
              WUMNUWU_d*h <MU] QYZ`ST( but
                                        N`_ until he's []Q^UPQY_(
                                            `Y_UW TQf^ president, Trump  needs to
                                                                  I]`X[ YQQP^   _Z let
                                                                                   WQ_ Obama
                                                                                       DNMXM
manage U.S.-Russia
XMYMSQ   J*H*)G`^^UM policy.
                         [ZWUOd*

Retired B_*
GQ_U]QP Lt. Gen.
            =QY* Michael
                 CUOTMQW T.  Flynn, Trump's
                          I* <WdYY( I]`X[f^ choice
                                             OTZUOQ for national security
                                                    RZ] YM_UZYMW  ^QO`]U_d adviser,
                                                                           MPaU^Q]( cultivates
                                                                                    O`W_UaM_Q^
close Russian contacts.
OWZ^Q G`^^UMY           He has
              OZY_MO_^* >Q  TM^ appeared
                                M[[QM]QP on   Russia Today
                                          ZY G`^^UM  IZPMd and   received aM speaking
                                                            MYP ]QOQUaQP     ^[QMVUYS fee
                                                                                       RQQ from
                                                                                           R]ZX
the
_TQ cable network, which
    OMNWQ YQ_bZ]V( bTUOT was
                          bM^ described
                               PQ^O]UNQP in
                                         UY last
                                            WM^_ week's
                                                 bQQVf^ unclassified               N]UQRUYS on
                                                                     intelligence briefing
                                                        `YOWM^^URUQP UY_QWWUSQYOQ           ZY
Russian hacking
G`^^UMY  TMOVUYS as
                 M^ "the Kremlin's principal
                    g_TQ A]QXWUYf^  []UYOU[MW international propaganda outlet."
                                              UY_Q]YM_UZYMW []Z[MSMYPM    Z`_WQ_*h

According
6OOZ]PUYS to_Z aM senior
                  ^QYUZ] U.S.
                          J*H* government
                               SZaQ]YXQY_ official,     Flynn phoned
                                              ZRRUOUMW( <WdYY           Russian Ambassador
                                                               [TZYQP G`^^UMY                 Sergey
                                                                                 6XNM^^MPZ] HQ]SQd
Kislyak several
AU^WdMV  ^QaQ]MW times
                   _UXQ^ on   Dec. 29,
                          ZY 9QO*  ,3( the
                                       _TQ day
                                            PMd the
                                                _TQ Obama
                                                     DNMXM administration
                                                              MPXUYU^_]M_UZY announced
                                                                               MYYZ`YOQP the   expulsion
                                                                                          _TQ Qc[`W^UZY
of
ZR 35  Russian officials
   -/ G`^^UMY    ZRRUOUMW^ as
                           M^ well
                              bQWW as
                                   M^ other  measures in
                                      Z_TQ] XQM^`]Q^        retaliation for
                                                         UY ]Q_MWUM_UZY RZ] the TMOVUYS* What
                                                                            _TQ hacking. LTM_ did  Flynn
                                                                                               PUP <WdYY
say,
^Md( and
     MYP did
          PUP it
               U_ undercut
                  `YPQ]O`_ the
                             _TQ U.S.
                                 J*H* sanctions?
                                      ^MYO_UZY^5 The     Logan Act
                                                   ITQ BZSMY     6O_ (though  never enforced)
                                                                     &_TZ`ST YQaQ]  QYRZ]OQP' bars  U.S.
                                                                                               NM]^ J*H*
citizens
OU_UeQY^ from
         R]ZX correspondence
                 OZ]]Q^[ZYPQYOQ intending
                                   UY_QYPUYS to_Z influence
                                                  UYRW`QYOQ a M foreign
                                                                RZ]QUSY government
                                                                        SZaQ]YXQY_ about
                                                                                      MNZ`_ "disputes"
                                                                                            gPU^[`_Q^h
with
bU_T the  United States.
      _TQ JYU_QP    H_M_Q^* Was
                            LM^ its
                                 U_^ spirit
                                     ^[U]U_ violated?
                                            aUZWM_QP5 The
                                                       ITQ Trump     OMX[MUSY didn't
                                                            I]`X[ campaign      PUPYf_ immediately
                                                                                       UXXQPUM_QWd
respond to
]Q^[ZYP   _Z a           RZ] comment.
                request for
             M ]Q\`Q^_       OZXXQY_*

If
?R the
   _TQ Trump
       I]`X[ team's
                _QMXf^ contacts
                       OZY_MO_^ helped
                                TQW[QP discourage
                                       PU^OZ`]MSQ the Russians from
                                                  _TQ G`^^UMY^ R]ZX aM counter-retaliation,
                                                                       OZ`Y_Q])]Q_MWUM_UZY(
maybe that's
XMdNQ   _TM_f^ aM good
                  SZZP thing. But we
                       _TUYS* 7`_ bQ ought
                                     Z`ST_ to
                                           _Z know
                                              VYZb the
                                                   _TQ facts.
                                                       RMO_^*

Question 4: <UYMWWd(
F`Q^_UZY .4 Finally, what's
                     bTM_f^ the
                            _TQ chance
                                OTMYOQ that Russian UY_QWWUSQYOQ
                                       _TM_ G`^^UMY intelligence has
                                                                 TM^ gamed
                                                                      SMXQP its
                                                                             U_^ covert
                                                                                 OZaQ]_ action
                                                                                        MO_UZY
XZ]Q ^`N_Wd than
more subtly _TMY we  realize? Applying
                  bQ ]QMWUeQ5 6[[WdUYS a
                                       M counter-intelligence
                                         OZ`Y_Q])UY_QWWUSQYOQ lens,
                                                              WQY^( it's
                                                                    U_f^ worth M^VUYS whether
                                                                         bZ]_T asking bTQ_TQ]




https://www.washingtonpost.com/opinions/why-did-obama-dawdle-on-russias-hacking/201...
>HHEG/((JJJ'J6G>?C=HDCEDGH'8DB(DE?C?DCG(J>K&9?9&D76B6&96J9A;&DC&FIGG?6G&>68@?C=(+)*''' 6/6/2020
                                                                                       .(.(+)+)
5>K 9?9
Why     176B6 dawdle
    did Obama 96J9A; on
                     DC Russia's
                        3IGG?6LG hacking?
                                 >68@?C=0 -& 4>; 56G>?C=HDC Post
                                             The Washington 2DGH           26=; 3, D<
                                                                           Page       -
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_TQ G`^^UMY^
the            TZ[QP to
    Russians hoped   _Z be
                        NQ discovered,
                           PU^OZaQ]QP( and
                                        MYP whether
                                            bTQ_TQ] G`^^UMY   Z[Q]M_UaQ^ fed
                                                      Russian operatives RQP the
                                                                             _TQ former
                                                                                 RZ]XQ] C?0
                                                                                        MI6
ZRRUOQ]f^ controversial
officer's OZY_]ZaQ]^UMW dossier
                        PZ^^UQ] PQWUNQ]M_QWd( _Z sow
                                deliberately, to ^Zb further
                                                     R`]_TQ] chaos.
                                                             OTMZ^*

ITQ^Q questions
These  \`Q^_UZY^ YQQP  _Z be
                 need to  NQ answered
                             MY^bQ]QP i— YZ_ _Z `YPQ]XUYQ
                                         not to               I]`X[( but
                                                undermine Trump,       N`_ to
                                                                           _Z provide
                                                                              []ZaUPQ a
                                                                                      M factual
                                                                                        RMO_`MW
NM^Q to
base _Z help
        TQW[ the
             _TQ country
                 OZ`Y_]d ]QOZaQ]  R]ZX an
                          recover from MY attack
                                          M__MOV on
                                                 ZY its
                                                     U_^ political
                                                         [ZWU_UOMW system.
                                                                   ^d^_QX* As
                                                                           6^ Trump
                                                                               I]`X[ ]UST_Wd  ^Md^(
                                                                                      rightly says,
gRMVQ YQb^h
"fake        _T]QM_QY^ our
      news" threatens  Z`] democracy.
                            PQXZO]MOd* Truth
                                       I]`_T will
                                              bUWW protect
                                                   []Z_QO_ it.
                                                           U_*

JE96I;4
UPDATE: The  ITQ Trump
                   I]`X[ transition
                            _]MY^U_UZY team
                                        _QMX PUP
                                              did YZ_
                                                   not ]Q^[ZYP    IT`]^PMd YUST_
                                                        respond Thursday      night to_Z a
                                                                                         M ]Q\`Q^_    RZ]
                                                                                            request for
OZXXQY_* 7`_
comment.           _bZ team
             But two     _QMX members
                               XQXNQ]^ called
                                          OMWWQP with
                                                 bU_T information
                                                       UYRZ]XM_UZY <]UPMd
                                                                       Friday XZ]YUYS*
                                                                               morning. A    6 first
                                                                                               RU]^_ Trump
                                                                                                     I]`X[
ZRRUOUMW confirmed
official OZYRU]XQP that _TM_ <WdYY  TMP spoken
                             Flynn had   ^[ZVQY with
                                                  bU_T AU^WdMV   Nd phone,
                                                        Kislyak by   [TZYQ( but
                                                                              N`_ said
                                                                                   ^MUP the
                                                                                         _TQ calls
                                                                                              OMWW^ were
                                                                                                     bQ]Q before
                                                                                                           NQRZ]Q
^MYO_UZY^ were
sanctions    bQ]Q announced
                    MYYZ`YOQP andMYP didn't
                                       PUPYf_ cover
                                              OZaQ] that
                                                     _TM_ topic.
                                                          _Z[UO* This
                                                                  ITU^ ZRRUOUMW  WM_Q] added
                                                                        official later  MPPQP that
                                                                                                 _TM_ <WdYYf^
                                                                                                       Flynn's
UYU_UMW call
initial OMWW was
             bM^ to_Z Qc[]Q^^   OZYPZWQYOQ^ to
                       express condolences    _Z AU^WdMV   MR_Q] the
                                                 Kislyak after   _TQ terrorist
                                                                      _Q]]Z]U^_ killing
                                                                                 VUWWUYS of
                                                                                          ZR the
                                                                                             _TQ G`^^UMY
                                                                                                   Russian
MXNM^^MPZ] to
ambassador      _Z Ankara
                    6YVM]M 9QO*    +3( and
                             Dec. 19,  MYP that
                                            _TM_ <WdYY   XMPQ aM second
                                                 Flynn made       ^QOZYP OMWW
                                                                           call 9QO*
                                                                                Dec. ,2    _Z Qc[]Q^^
                                                                                       28 to  express
OZYPZWQYOQ^ for
condolences     RZ] the
                     _TQ shoot-down
                          ^TZZ_)PZbY of ZR a
                                           M G`^^UMY   [WMYQ carrying
                                             Russian plane    OM]]dUYS a M choir
                                                                           OTZU] to
                                                                                  _Z Hd]UM*
                                                                                      Syria. ?Y   _TM_ second
                                                                                              In that   ^QOZYP
OMWW( <WdYY
call,         MW^Z discussed
      Flynn also    PU^O`^^QP [WMY^    RZ] a
                                plans for  M Trump-Putin
                                             I]`X[)E`_UY conversation
                                                             OZYaQ]^M_UZY sometime
                                                                             ^ZXQ_UXQ afterMR_Q] the
                                                                                                   _TQ
UYM`S`]M_UZY* In
inauguration.     ?Y addition,
                      MPPU_UZY( aM second
                                   ^QOZYP Trump
                                            I]`X[ official
                                                    ZRRUOUMW said
                                                             ^MUP the
                                                                   _TQ 9QO*
                                                                       Dec. ,2    OMWW included
                                                                             28 call   UYOW`PQP an  MY invitation
                                                                                                       UYaU_M_UZY
R]ZX AU^WdMV
from             RZ] a
       Kislyak for    M Trump
                        I]`X[ administration
                                MPXUYU^_]M_UZY official
                                                  ZRRUOUMW to
                                                           _Z visit
                                                              aU^U_ AMeMVT^_MY
                                                                    Kazakhstan for RZ] aM conference
                                                                                          OZYRQ]QYOQ in  UY late
                                                                                                            WM_Q
@MY`M]d*
January.

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     more from       ,9@3E<FDKD archive,
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8TM]WQ^
Charles BMYQ4 ITQ Trump
        Lane: The I]`X[ PZ^^UQ]
                        dossier U^ ^UWWd i
                                is silly — QcOQ[_ RZ] one
                                           except for ZYQ thing
                                                          _TUYS

@MXQ^ 9ZbYUQ4
James         6R_Q] the
      Downie: After _TQ Trump
                        I]`X[ PZ^^UQ](
                              dossier, @MXQ^
                                       James 8ZXQd U^ ]`YYUYS
                                             Comey is         Z`_ of
                                                      running out ZR QcO`^Q^
                                                                     excuses

ITQ EZ^_f^
The        KUQb4 Trump
    Post's View: I]`X[ should
                       ^TZ`WP welcome
                              bQWOZXQ a
                                      M bipartisan,
                                        NU[M]_U^MY( transparent
                                                    _]MY^[M]QY_ hacking
                                                                TMOVUYS
UYaQ^_USM_UZY
investigation

@QYYURQ] G`NUY4
Jennifer        I]`X[f^ G`^^UM
         Rubin: Trump's Russia []ZNWQX4
                               problem: HUc
                                        Six \`Q^_UZY^ ^_UWW `YMY^bQ]QP
                                            questions still unanswered

9MaUP
David ?SYM_U`^4 ITQ ]QWQM^QP
      Ignatius: The released ]Q[Z]_ ZY G`^^UMY
                             report on         XQPPWUYS U^Yf_
                                       Russian meddling isn't QYZ`ST
                                                              enough


27 3C7 3
We are   B3CE<5<B3@E in
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David  Ignatius
+2E;5 Ignatius
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                                             2772;AB column
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